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 1   Christopher S. Marchese (SBN 170239), marchese@fr.com
     FISH & RICHARDSON P.C.
 2
     633 West Fifth Street, 26th Floor
 3   Los Angeles, CA 90071
     Tel: (213) 533-4240, Fax: (858) 678-5099
 4

 5   Frank Scherkenbach (SBN 142549), scherkenbach@fr.com
     Kurt L. Glitzenstein (Admitted Pro Hac Vice), glitzenstein@fr.com
 6
     FISH & RICHARDSON P.C.
 7   One Marina Park Drive
     Boston, MA 02210-1878
 8
     Tel: (617) 542-5070, Fax: (617) 542-8906
 9
     Olga I. May (SBN 232012), omay@fr.com
10   Markus D. Weyde (SBN 285956), weyde@fr.com
11   K. Nicole Williams (SBN 291900), nwilliams@fr.com
     Jared A. Smith (SBN 306576), jasmith@fr.com
12   FISH & RICHARDSON P.C.
13   12390 El Camino Real
     San Diego, CA 92130
14   Tel: (858) 678-4745, Fax: (858) 678-5099
15
     [Additional Counsel listed on last page.]
16

17   Attorneys for Plaintiffs, CARL ZEISS AG and ASML NETHERLANDS B.V.

18                  IN THE UNITED STATES DISTRICT COURT
19        FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
     CARL ZEISS AG and ASML
20                                               Case No. 2:17-cv-07083- RGK (MRWx)
     NETHERLANDS B.V.,
21
                                                 CORRECTED PLAINTIFFS’
22
                  Plaintiffs,
                                                 OBJECTIONS TO DEFENDANTS’
     v.
23
                                                 DEMONSTRATIVES
   NIKON CORPORATION and
24                                               Trial Date: December 4, 2018
   NIKON INC.,
25         Defendants.                           Judge:      Hon. R. Gary Klausner
                                                 Courtroom: 850, 8th Floor
26

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                   CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1          Plaintiffs, Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) hereby offer
 2   written objections to certain demonstrative exhibits that Defendants Nikon Corporation
 3   and Nikon Inc. (“Nikon” or “Defendants”) intend to use in with their expert witnesses
 4   Ms. Davis and Dr. Darrell slides.
 5          A.     Ms. Davis Should Be Precluded from Relying on Testimony Not
                   Cited in Her Expert Report
 6

 7          Plaintiffs object to a number of Ms. Davis’s demonstratives that show testimony
 8   that was not cited or relied upon in her expert report.
 9                 1.     Testimony from Ariel Reich (DDX-9.5)
10          First, Plaintiffs’ object to DDX-9.5 which, as shown below, contains an excerpt
11   from the deposition of HP’s witness Ariel Reich. This testimony was not cited or
12   discussed in Ms. Davis’s report. Indeed, during the meet-and-confer process prior to
13   Plaintiffs lodging these objections, Nikon admitted that Ms. Davis’s report did not cite
14   to this specific testimony. Nikon, however, argued that because Ms. Davis’s report
15   discusses other testimony from Mr. Reich and because Ms. Davis generally discusses the
16   transaction in which Plaintiffs bought patents from HP, she is entitled to opine on this
17   testimony. Not so. Rule 26 requires more than simply general testimony concerning
18   similar subject matter—it requires “a complete statement of all opinions the witness will
19   express and the basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(1); Fed. R. Civ.
20   P. 26(a)(2). Allowing Nikon to present this new expert opinion only disclosed for the
21   first time in the middle of trial will be highly prejudicial to Plaintiffs, and thus this
22   demonstrative and testimony discussing this previously-undisclosed testimony should be
23   excluded. See Fed. R. Civ. P. 37(c)(1); see also Yeti by Molly, Ltd. v Deckers Outdoor Corp., 259
24   F.3d 1101, 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to [the requirements of Fed.
25   R. Civ. P. 26(a)(2)(C)] by forbidding the use at trial of any information required to be
26   disclosed by Rule 26(a) that is not properly disclosed.”)
27          Slide DDX-9.5 is additionally objectionable under Rule 403, as the emphasis added
28   by Nikon on top of the deposition testimony is likely to confuse the jury into thinking

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 1   the question is evidence. As can be seen below, Nikon has underlined in red the question,
 2   giving the question more emphasis than the answer:
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10   Thus, even if this testimony were discussed in Ms. Davis’s report (which it is not), Nikon
11   should not be allowed to show the slide as because of the risk of misleading the jury and
12   jury confusion.
13                2.     Testimony from Andreas Zeiler (DDX-9.6, DDX-9.10)
14
           Next, Plaintiffs object to Ms. Davis’ demonstrative slides DDX-9.6 and DDX-
15
     9.10 containing testimony from Dr. Andreas Zeiler. While Ms. Davis’s report does list
16
     Dr. Zeiler’s deposition as part of her “materials considered,” her report does not contain
17
     a single citation to Dr. Zeiler’s deposition transcript. Yet Ms. Davis’s demonstratives
18
     now contains excerpts of that testimony—excerpts that appear nowhere in her report.
19
     Because Ms. Davis didn’t cite, discuss, or otherwise disclose any reliance on Dr. Zeiler’s
20
     testimony in her report, she should be precluded from opining on it at trial.
21
           Plaintiffs additionally object to DDX-9.6 under FRE 403 because Defendants
22
     have omitted part of Dr. Zeiler’s answer in the excerpt they reproduce on the slide, which
23
     is misleading and prejudicial. As seen below, by omitting part of the answer, Nikon has
24
     materially changed the answer as the omitted portion provides additional explanation
25
     regarding the calculation done by Zeiss’s accounting:
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 1

 2                    Demonstrative                             Actual Testimony
                                                           (omitted portion highlighted)
 3

 4
                                                            Q. Have you seen any allocation
 5                                                      of any portion of the purchase price
                                                        to any of the individual patents and
 6                                                      applications acquired from Hewlett-
                                                        Packard?
 7                                                          A. I haven't seen any in any
                                                        allocation for which anyone looked
 8
                                                        at the individual content of the
 9                                                      patents. I believe I recall I did have
                                                        to make an allocation for our
10                                                      accountants and, for that, I simply
                                                        divided the total amount we paid by
11                                                      the number of patents we acquired.
                                                            And for that purpose, I did not
12
                                                        have any look at the specific patents
13                                                      and I didn't have any specific
                                                        valuation information.
14

15   Nikon should not be able to cherry-pick part of an answer and use that partial testimony
16   to imply that Dr. Zeiler meant something other than he said. Thus, even if this testimony
17   were discussed in Ms. Davis’s report (which it’s not), this slide should be excluded for
18   this additional reason.
19         Lastly, DDX-9.6 and DDX-9.10 should be excluded because the testimony cited is
20   irrelevant to Ms. Davis’s disclosed hypothetical negotiation theory. The testimony on the
21   slides discusses how Zeiss accounted for its acquisition of the patents based on the cost
22   of the patents years after the purchase from HP and IV. According to Ms. Davis’s theory,
23   the parties to the hypothetical negotiation (which is the basis for her damages opinions)
24   would have been HP and Nikon for the ’163 patent, and IV and Nikon for the sensor
25   patents (the ʼ335 and the ʼ312 family of patents). As Ms. Davis’s report contains no
26   opinion where Zeiss would be a party to the hypothetical negotiation, she should not be
27   able to offer a new theory, especially in the middle of trial, regarding Zeiss’s later
28   accounting of the patents. These slides should be excluded.

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 1                 3.     Testimony from Mr. Toto (DDX-9.11 & DDX-9.12)
 2          Plaintiffs next object to DDX-9.11 and DDX-9.12, which contain excerpts from
 3   the deposition of Mr. Toto, a witness from Sony. Again, neither of the excerpts that
 4   appear in these demonstratives are cited, discussed, or otherwise disclosed in Ms. Davis’s
 5   report. In this instance, the deposition from which these excerpts are listed neither
 6   appear on Ms. Davis’s materials considered nor is it anywhere cited in the report. On the
 7   meet-and-confer, Nikon contended that Ms. Davis could nonetheless discuss this
 8   testimony at trial because Ms. Davis included and cited to another deposition of Mr.
 9   Toto taken for an entirely different case. For the reasons discussed above, this is plainly
10   insufficient and Ms. Davis should be precluded from using these demonstratives or
11   discussing this testimony at trial.
12
            B.     Ms. Davis Should Be Precluded from Characterizing the Transfer of
13
                   the Patents-in-Suit from ASML’s Subsidiary Tarsium to ASML and
14                 Zeiss as “Backdating”
15          Plaintiffs lastly object to a single aspect of DDX-9.14. This slide, shown below
16   (with objected-to-portion blown out) is a timeline regarding Plaintiffs’ acquisition of the
17   patents-in-suit. The slide characterizes one of the transfers as “Backdating.”
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26          Neither the agreement nor any fact witness who has given testimony regarding this
27   transfer has said that this agreement “backdated” anything. The use of the word
28   “backdating” paints this transfer in a bad light, when it was anything but. Despite Nikon’s
                                      4
                  CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1   insistence that Plaintiffs prove-up ownership, Nikon has never identified any legal
 2   problems with the nunc pro tunc agreement, and by suggesting that Plaintiffs’
 3   “backdated” Nikon is trying to suggest otherwise.          Because the use of the term
 4   “backdated” is prejudicial, and other words with less negative connotation could similarly
 5   describe the same concept, this demonstrative should be excluded.
 6
            C.     Dr. Darrell Should Be Precluded From Offering Opinions Not
 7                 Contained In His Expert Report
 8
            Plaintiffs object to DDX-2.97, 2.103, 2.112, 2.113, 2.119, 2.128, and 2.129 because
 9
     they discuss anticipation despite Nikon not previously alleging anticipation of the only
10
     asserted claim from the ’163 patent left in this case. Indeed, Nikon’s own proposed jury
11
     verdict form did not contain a check box for “anticipation” for claim 16, as shown below:
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     (See D.I. 431-1, at 33.) Moreover, Dr. Darrell’s report contains no opinion that claim 16
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     would be anticipated by any of the references still alive in this case. In Dr. Darrell’s
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     invalidity report, at paragraphs 232 and 292, Darrell alleges that an element of claim 15,
27
     the image pattern detector, is rendered obvious, and only obvious, in view of Yow and
28
     Yow thesis, respectively. Darrell Rep. ¶ 232 (“In my opinion, Yow renders this
                                                5
                  CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1   limitation obvious . . .”) id. ¶ 292 (“In my opinion, the Yow thesis renders this
 2   limitation obvious.”). He does not have an anticipation opinion with respect to this
 3   element. Id. Claim 16 of the ’163 patent depends from claim 15. Since Dr. Darrell
 4   only has an opinion of obviousness with respect to claim 15, he necessarily only has an
 5   opinion of obviousness with respect to claim 16. Without any support, Nikon now
 6   wants to tell the jury that this element (along with the rest of claims 15 and 16) is
 7   anticipated. Nikon should not be allowed to do so, and this demonstrative and any
 8   testimony concerning anticipation should be excluded.
 9         D.     Dr. Darrell Should Be Precluded from Relying on Prior Art that
                  Nikon Dropped Before Trial
10

11         Plaintiffs object to DDX-2.24, 2.98, and 2.114 because these slides discuss prior
12   art that Nikon is no longer pursuing and contains references to alleged prior art that Cwas
13   not contained in Dr. Darrell’s report. Each of these slides purports to be a timeline of
14   “prior art,” and each identifies a number of documents that, as is explicit on the slide,
15   Nikon claims is “prior art,” as shown in the exemplar slide below:
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27         Prior to trial, Nikon told Plaintiffs that it would only be proceeding to trial on
28   three references: the Yow Paper, the Yow Thesis, and Kosugi.               (See Exhibit. A
                                      6
                  CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1   (“Defendants are reducing the prior art references for trial to the following set:”).)
 2   Moreover, Plaintiffs reduced the claims they were asserting at trial to claim 16, and Dr.
 3   Darrell’s report does not contain any opinion that claim 16 is anticipated and/or obvious
 4   over Kosugi. Yet Kosugi, and a plethora of other references now appear on Nikon’s
 5   demonstratives as purported prior art.
 6         These slides are objectionable under at least Rules 402 and 403 as well as FRCP
 7   26 because they give the jury the false impression that Nikon is asserting significantly
 8   more prior art references than they actually are. Moreover, as Nikon abandoned
 9   references prior to trial, Nikon should not be able to talk about them, just as a party
10   would not be able, for example, to talk about a cause of action that was dismissed or
11   abandoned prior to trial. Thus, these demonstrative should be excluded.
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 1   Dated: December 6, 2018   FISH & RICHARDSON P.C.
 2
                               By: /s/ Christopher S. Marchese
 3

 4                                 Christopher S. Marchese (SBN 170239)
                                   marchese@fr.com
 5
                                   FISH & RICHARDSON P.C.
 6                                 633 West Fifth Street, 26th Floor
                                   Los Angeles, CA 90071
 7
                                   Tel: (213) 533-4240, Fax: (858) 678-5099
 8

 9                                 Frank Scherkenbach (SBN 142549)
                                   scherkenbach@fr.com
10                                 Kurt L. Glitzenstein (Admitted Pro Hac Vice)
11                                 glitzenstein@fr.com
                                   Proshanto Mukherji (Admitted Pro Hac Vice)
12                                 mukherji@fr.com
13                                 Jeffrey Shneidman (Admitted Pro Hac Vice)
                                   shneidman@fr.com
14
                                   Elizabeth G.H. Ranks (Admitted Pro Hac Vice),
15                                 ranks@fr.com
                                   FISH & RICHARDSON P.C.
16
                                   One Marina Park Drive
17                                 Boston, MA 02210-1878
                                   Tel: (617) 542-5070, Fax: (617) 542-8906
18

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                CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1                                Olga I. May (SBN 232012)
 2
                                  omay@fr.com
                                  Markus D. Weyde (SBN 285956) weyde@fr.com
 3                                K. Nicole Williams (SBN 291900)
 4                                nwilliams@fr.com
                                  Jared A. Smith (SBN 306576)
 5                                jasmith@fr.com
 6                                Oliver J. Richards (SBN 310972)
                                  orichards@fr.com
 7                                FISH & RICHARDSON P.C.
 8                                12390 El Camino Real
                                  San Diego, CA 92130
 9                                Tel: (858) 678-5070, Fax: (858) 678-5099
10
                                  Jennifer Huang (Admitted Pro Hac Vice)
11                                jhuang@fr.com
12                                FISH & RICHARDSON P.C.
                                  60 South Sixth Street, Suite 3200
13                                Minneapolis, MN 55402
14                                Tel: (612) 335-5070, Fax: (612) 288-9696
15                                Andrew R. Kopsidas (Admitted Pro Hac Vice)
16                                kopsidas@fr.com
                                  FISH & RICHARDSON P.C.
17                                1000 Maine Avenue, S.W., Ste. 1000
18                                Washington, DC 20024
                                  Tel: (202) 783-5070, Fax: (202) 783-2331
19

20                                Attorneys for Plaintiffs, CARL ZEISS AG and
                                  ASML NETHERLANDS B.V.
21

22

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              CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on December 6, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7

 8                                           /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 9                                           marchese@fr.com
10

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                 CORRECTED PLAINTIFFS’ OBJECTIONS TO DEMONSTRATIVES
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